          Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 1 of 25




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JANE DOE,

                             Plaintiff,                         OPINION AND ORDER

               – against –                                          18 Civ. 1769 (ER)

SOLERA CAPITAL LLC and MOLLY ASHBY,
jointly and severally,

                             Defendants.



Ramos, D.J.:

       Plaintiff/Cross-Defendant Jane Doe (“Doe”) brings this action against Defendants/Cross-

Plaintiffs Solera Capital LLC (“Solera”) and Molly Ashby (“Ashby,” and together with Solera,

“Defendants”), alleging employment discrimination, a hostile work environment, retaliation, and

failure to pay overtime.

       Before the Court are three motions. First, Doe moves for a protective order to continue to

proceed anonymously under the Doe pseudonym. Doc. 27. Second, Doe moves to dismiss

Defendants’ counterclaims. Doc. 23. Third, Defendants cross-move to amend their pleadings.

Doc. 32. For the reasons set forth below, Doe’s motion to continue to proceed anonymously is

DENIED, Doe’s motion to dismiss the counterclaims is GRANTED, and Defendants’ cross-

motion to amend their pleadings is GRANTED.
             Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 2 of 25




      I.      BACKGROUND 1

           A. Doe’s Complaint

           Doe is a victim of domestic violence by her former husband. See Compl. ¶ 115. She was

held in captivity and severely injured until she was rescued by an organization that supports

victims of domestic violence. Doc. 41-2, ¶ 3. The organization relocated Doe to two different

safe-houses to escape her husband. Id. ¶ 4, 6. Doe states that her husband continues to search

for her, even after her name change in April 2015, including as recently as July 2018, when he

made death threats against her family members to pressure them to disclose information about

Doe. Doc. 41-1, ¶ 7, 28. She currently suffers from post-traumatic stress disorder (“PTSD”) and

is afraid her former husband will find her again. Id. ¶ 9–10.

           Doe was referred for employment at Solera by Sanctuary for Families, a program that

assists survivors of domestic violence with job placement. Doc. 38, at 8. Solera is a private

equity firm, and Ashby is its chief executive officer. Compl. ¶¶ 1, 3. Solera has a reputation as a

diversity-friendly firm that celebrates women. Id. ¶ 5. While employed at Solera as an executive

assistant, Doe legally changed her name in an effort to protect herself from her former husband.

Id. ¶ 115. Defendants were aware that Doe came out of a difficult domestic violence situation.

Id.

           Within weeks of her arrival at Solera, Doe began to feel that she was being singled out

for unequal treatment because of her race. Id. ¶ 59. Doe was humiliated in front of her

colleagues by Ashby’s treatment of her as the “token” Black woman. Id. ¶ 90. Ashby constantly



1
  The following facts are drawn from Doe’s complaint and Defendants’ counterclaims. They are assumed true for
purposes of deciding the pending motions. See Koch v. Christie’s Int’l PLC, 699 F.3d 141, 145 (2d Cir. 2012)
(motion to dismiss for failure to state a claim); Atl. Mut. Ins. Co. v. Balfour Maclaine Int’l Ltd., 968 F.2d 196, 198
(2d Cir. 1992) (motion to dismiss for lack of subject-matter jurisdiction); Arnold v. Research Found. for State Univ.
of N.Y., 216 F. Supp. 3d 275, 284 (E.D.N.Y. 2016) (motion to amend).


                                                          2
          Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 3 of 25




touched Doe’s hair, played offensive music with racist epithets in the office, and singled out Doe

to sing and dance with her so as to entertain their colleagues. Id. ¶ 124. As a result of the

racially hostile work environment during her employment at Solera, Doe has suffered and

continues to suffer mental anguish and emotional distress. Id. ¶ 183. Additionally, while Doe

was required to work for more than 80 hours a week, she was not paid the required overtime rate.

Id. ¶ 176. When Doe requested a raise, Ashby refused and allegedly told her, “Don’t forget

where you came from.” Id. ¶ 51. In December 2015, Doe was terminated from Solera because

her position, as she was told, had become “redundant.” Id. ¶ 133.

       B. Defendants’ Counterclaims

       In their counterclaims, Defendants allege that during her employment as an executive

assistant, Doe abused the access she was granted to the work and personal files of Solera

executives in that, on two separate occasions, Doe forwarded sensitive work information to her

personal email address. Amended Answer with Counterclaims ¶¶ 5, 31. Specifically, on

February 13, 2015, she forwarded an internal company email containing a confidential trend

guide, and on December 14, 2015, she forwarded a copy of an executive’s medical records to her

private email, after being asked to scan the documents. Id. ¶¶ 32–37. Additionally, Doe was

caught using Ashby’s cell phone without authorization and was seen looking through Ashby’s

personal file folder. Id. ¶¶ 39–41. Among the documents contained in Ashby’s important files

was a copy of a letter written about her father from a war veteran with whom her father had

served. Id. ¶ 40. The letter is now missing. Id.

       Doe also had access to company credit cards and was informed that all charges made to

these cards had to be for work-related purposes and authorized by an executive. Id. ¶¶ 6, 8.

However, Doe improperly made purchases for personal items on these cards. Id. ¶ 10. On



                                                   3
           Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 4 of 25




October 2, 2015, Doe allegedly placed an order with Lexington Flower Shop for a total of

$174.20 using a Solera credit card issued to the Vice President, Finance and Controller, Ari

Herman (“Herman”). Id. ¶ 13, 16, 18. The second unauthorized charge was on November 8,

2015, when Doe allegedly paid a $50.00 gratuity to Kur Skin Lab for a facial, also using

Herman’s company credit card. Id. ¶¶ 24–28.

        C. Procedural History

        On February 27, 2018, Plaintiff brought the instant suit, alleging employment

discrimination and a hostile work environment on the basis of race and her status as a survivor of

domestic violence, as well as retaliation and failure to pay overtime. See Compl. On April 30,

2018, Defendants filed an Answer to the Complaint, Doc. 5, and on May 21, 2018, they filed an

Amended Answer, along with two counterclaims: breach of fiduciary duty under the faithless

servant doctrine and conversion. Doc. 11. On July 5, 2018, Plaintiff moved to dismiss the

counterclaims. Doc. 23. In response, Defendants moved to amend their counterclaims to add, in

the alternative to conversion, an unjust enrichment claim. 2 Doc. 32. Before the Court is

Plaintiff’s motion for a protective order to continue to proceed anonymously, Plaintiff’s motion

to dismiss the counterclaims, and Defendants’ cross-motion to amend their pleadings.

II.     LEGAL STANDARDS

        A. Motion for Protective Order to Continue to Proceed Under Pseudonym

        The Federal Rules of Civil Procedure require that “[a]n action must be prosecuted in the

name of the real party in interest.” Fed. R. Civ. P. 17(a)(1). Rule 10(a) of the Federal Rules of

Civil Procedure provides that “[t]he title of the complaint must name all the parties.” Fed. R.



2
  Doe objected to Defendants’ attempt to move to amend their pleadings without first requesting a pre-motion
conference. Doc. 34. The Court overruled the objection and directed Doe to address the sufficiency of the motion
to amend in her reply.

                                                        4
          Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 5 of 25




Civ. P. 10(a). These rules are intended to further the fundamental right of public access to the

courts. United States v. Amodeo, 44 F.3d 141, 145 (2d Cir. 1995). Identifying parties to a

lawsuit is an important aspect of the presumption of access because the public has a right to

know who is utilizing the courts. Sealed Plaintiff v. Sealed Defendant, 537 F.3d 185, 189 (2d

Cir. 2008). The use of fictitious names or pseudonyms in place of the true identities of litigants

“runs afoul of the public’s common law right of access to judicial proceedings . . . , a right that is

supported by the First Amendment.” Doe v. Del Rio, 241 F.R.D. 154, 156 (S.D.N.Y. 2006)

(citation omitted). Private civil suits advance the public’s interest in enforcing legal and social

norms. Id. at 159. When a lawsuit involves issues concerning a defendant’s actions or a

particular incident, as opposed to challenging abstract public policies, open proceedings serve the

judiciary’s interest in a fair and accurate fact-finding adjudication. Id.

       Courts have recognized an exception to the rules requiring disclosure of party identities

in cases that implicate individual privacy concerns. Doe v. City of New York, 201 F.R.D. 100,

101 (S.D.N.Y. 2001). The decision to permit a litigant to proceed anonymously is entrusted to

the sound discretion of the court and requires a careful and fact-specific examination into the

circumstances of the case at hand. Doe No. 2 v. Kolko, 242 F.R.D. 193, 195 (E.D.N.Y. 2006);

Del Rio, 241 F.R.D. at 159. “[W]hen determining whether a plaintiff may be allowed to

maintain an action under a pseudonym, the plaintiff’s interest in anonymity must be balanced

against both the public interest in disclosure and any prejudice to the defendant.” Sealed

Plaintiff, 537 F.3d at 189. The Second Circuit has identified the following ten non-exhaustive

factors to be considered in determining whether a plaintiff should be allowed to proceed

anonymously:

       (1) whether the litigation involves matters that are highly sensitive and of a personal
       nature;


                                                  5
          Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 6 of 25




        (2) whether identification poses a risk of retaliatory physical or mental harm to the party
        seeking to proceed anonymously or even more critically, to innocent non-parties;

        (3) whether identification presents other harms and the likely severity of those harms,
        including whether the injury litigated against would be incurred as a result of the
        disclosure of the plaintiff’s identity;

        (4) whether the plaintiff is particularly vulnerable to the possible harms of disclosure,
        particularly in light of his or her age;

        (5) whether the suit is challenging the actions of the government or that of private parties;

        (6) whether the defendant is prejudiced by allowing the plaintiff to press his or her claims
        anonymously, whether the nature of that prejudice (if any) differs at any particular stage
        of the litigation, and whether any prejudice can be mitigated by the district court;

        (7) whether the plaintiff’s identity has thus far been kept confidential;

        (8) whether the public’s interest in the litigation is furthered by requiring the plaintiff to
        disclose his or her identity;

        (9) whether, because of the purely legal nature of the issues presented or otherwise, there
        is an atypically weak public interest in knowing the litigants’ identities; and

        (10) whether there are any alternative mechanisms for protecting the confidentiality of
        the plaintiff.

Sealed Plaintiff, 537 F.3d at 190 (alterations, citations, and internal quotation marks omitted).

“[A] district court is not required to list each of the factors or use any particular formulation as

long as . . . the court balance[s] the interests at stake in reaching its conclusion.” Id. at 191 n.4.

        B. Plaintiff’s Motion to Dismiss the Counterclaims and Defendants’ Motion to
           Amend

        “A motion to dismiss a counterclaim is evaluated under the same standard as a motion to

dismiss a complaint.” Inter-American Dev. Bank v. IIG Trade Opportunities Fund N.V., 2017

U.S. Dist. LEXIS 199090, at *11 (S.D.N.Y. Dec. 4, 2017) (internal citations and quotations

omitted). Under Rule 12(b)(6), a complaint may be dismissed for “failure to state a claim upon

which relief can be granted.” Fed. R. Civ. P. 12(b)(6). When ruling on a motion to dismiss


                                                   6
          Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 7 of 25




pursuant to Rule 12(b)(6), the Court must accept all factual allegations in the complaint as true

and draw all reasonable inferences in the plaintiff’s favor. Koch v. Christie’s Int’l, PLC, 699

F.3d 141, 145 (2d Cir. 2012). However, the Court is not required to credit “mere conclusory

statements” or “threadbare recitals of the elements of a cause of action.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)).

       “To survive a motion to dismiss, a complaint must contain sufficient factual matter . . . to

‘state a claim to relief that is plausible on its face.’” Iqbal, 556 U.S. at 678 (quoting Twombly,

550 U.S. at 570). A claim is facially plausible “when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Id. (citing Twombly, 550 U.S. at 556). Federal Rule of Civil Procedure 8 “marks a

notable and generous departure from the hypertechnical, code-pleading regime of a prior era, but

it does not unlock the doors of discovery for a plaintiff armed with nothing more than

conclusions.” Id. at 678–79. If the plaintiff has not “nudged [her] claims across the line from

conceivable to plausible, [the] complaint must be dismissed.” Twombly, 550 U.S. at 570.

       Defendants’ motion to amend their counterclaims is the flip side of plaintiff’s motion to

dismiss because a proposed amendment is futile if it would be subject to a successful motion to

dismiss. Lucente v. IBM, 310 F.3d 243, 258 (2d Cir. 2002). Accordingly, these motions will be

analyzed together.

III.   DISCUSSION

       A. Motion for Protective Order to Continue to Proceed Under Pseudonym

       1. Factor 1

       Under the first factor, the court determines whether the litigation involves matters that are

highly sensitive and of a personal nature. Doe states that proceeding under her new legal name



                                                  7
          Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 8 of 25




would place her at a significant risk of physical and psychological harm. Doc. 41, at 7–10.

Though there is no evidence of an actual threat, Doe fears that proceeding under her name will

allow her former husband to learn her new name, thereby enabling him to locate her. Id. at 8.

Doe states that proceeding under her new name would cause anxiety and distress. Id. at 10.

       While the details of Doe’s personal experience as a domestic violence victim are highly

sensitive and personal in nature, the subject matter of this litigation — claims of employment

discrimination, a hostile work environment, retaliation, and failure to pay overtime — is not.

Thus, the first factor weighs against proceeding anonymously.

       2. Factor 2

       The risk of psychological injury stemming from identification is a cognizable harm that

can serve as a legitimate basis for proceeding anonymously. Doe v. Smith, 105 F. Supp. 2d 40,

43 (E.D.N.Y. 1999). Doe states that she suffers from PTSD and that the symptoms of her

disorder have grown worse at the prospect of proceeding under her new legal name. Doc. 41-1,

¶ 9, 12. In Doe v. Smith, the court allowed the plaintiff to proceed anonymously after she

provided specific evidence from medical professionals predicting that revelation of her identity

would likely “cause psychological and emotional pain so intense that it would threaten her

stability, her safety, and even her life.” Smith, 105 F. Supp. 2d at 43. In the instant case, Doe

has not provided any medical corroboration to support her claim regarding the risk of

psychological injury, and thus the Court declines to speculate regarding “the nature, level, or

intensity of [her] mental injury.” Id. at 42.

       More generally, “[c]ourts have allowed plaintiffs to proceed anonymously where

disclosure of their identities created a risk of harm from third parties unaffiliated with the case.”

Smith, 105 F. Supp. 2d at 45. Courts have acknowledged that domestic violence victims face a



                                                  8
          Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 9 of 25




particular risk of physical retribution from their former abusers that may justify proceeding

anonymously. See, e.g., E.A. v. Brann, 2018 U.S. Dist. LEXIS 143208, at *10 (S.D.N.Y. Aug.

22, 2018) (noting that the risk of physical or mental retribution faced by a domestic violence

victim may justify proceeding anonymously); Al Otro Lado, Inc. v. Nielsen, 2017 U.S. Dist.

LEXIS 210401, at *14 (S.D. Cal. Dec. 20, 2017) (allowing a plaintiff to proceed anonymously

where she fled from a physically abusive ex-boyfriend).

       A “[p]laintiff’s allegation that she has been subjected to death threats would provide a

legitimate basis for allowing her to proceed anonymously.” Doe v. Shakur, 164 F.R.D. 359, 362

(S.D.N.Y. 1996). However, if a plaintiff has not provided any details of the supposed threat,

then that “plaintiff simply has not shown that she is entitled to proceed under a pseudonym in

this action.” Id. In contrast to evidence of actual physical harm, courts have found that evidence

of embarrassment, social stigmatization, and economic harm provides an insufficient basis for

proceeding anonymously. See, e.g., Doe v. Delta Airlines, Inc., 672 F. App’x 48, 52 (2d Cir.

2016); Anonymous v. Simon, 2014 U.S. Dist. LEXIS 27563, at *5 (S.D.N.Y. Mar. 3, 2014).

       In this case, Doe seeks to avoid actual physical and mental harm, not mere

embarrassment, social stigmatization, and economic injury. Doe states that she fears harm from

her former abuser, which is cognizable as a basis for proceeding anonymously. Unlike the cases

cited by Defendants, Doe fears disclosure of an identity not heretofore disclosed to the public.

See, e.g., Shakur, 164 F.R.D. 359 (denying a sexual assault victim’s request to proceed

anonymously in part because “those who presumably would have any animosity toward [the

plaintiff] already know her true identity”); Mateer v. Ross, Suchoff, Egert, Hankin Maidenbaum

& Mazel, P.C., 1997 U.S. Dist. LEXIS 4517 (S.D.N.Y. Apr. 10, 1997) (noting that plaintiff’s

name was in the action already filed in state court, thereby inhibiting “[a]ny shield of privacy”



                                                 9
          Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 10 of 25




that plaintiff would be awarded by proceeding anonymously). The risk of retaliatory harm that a

plaintiff may face from proceeding with her actual name is considerably reduced when the public

is already aware of the plaintiff’s identity. See, e.g., Shakur, 164 F.R.D. at 362; Mateer, 1997

U.S. Dist. LEXIS 4517, at *17–19.

        Notably, in the recent decision E.A. v. Brann, the court stated that the petitioner failed to

show disclosure of his name “poses any risk of the kind that the second factor seeks to protect –

which is not the reach of the law, but of a risk [of] physical or mental retribution (for, say, a

domestic violence victim).” 2018 U.S. Dist. LEXIS 143208, at *10 (emphasis added). From this

statement, it is reasonable to infer that this court considers harm to victims of domestic violence

as the relevant type of harm that the second factor seeks to address.

        According to the U.S. Department of Justice’s NATIONAL INSTITUTE OF JUSTICE SPECIAL

REPORT, Practical Implications of Current Domestic Violence Research: For Law Enforcement,

Prosecutors and Judges, as cited by Doe, a victim’s assessment of risk is often a good predictor

of the threat. 3 Doe states that she currently suffers from PTSD, and although she has a new

name, she is afraid her former husband will find and harm her once more. Doc. 41-1, ¶ 910.

Doe was rescued by an organization that supports victims of domestic violence and was

subsequently relocated to not one, but two different safe-houses. Doc. 41-2, ¶ 3–4, 6. Doe states

that his attempts to locate her have continued since her name change in April 2015, including

death threats made against her family members in July 2018 to pressure them to disclose

information about Doe. Doc. 41-1, ¶ 7, 28. There seems to be an apparent risk to both Doe’s




3
 Research shows the best predictions of repeated assaults were obtained by using risk markers, such as the
perceptions of women. For example, women who felt very safe were less likely to be repeatedly assaulted than
women who felt somewhat safe. Andrew R. Klein, Practical Implications of Current Domestic Violence Research:
For Law Enforcement, Prosecutors and Judges, NATIONAL INSTITUTE OF JUSTICE (SPECIAL REPORT) 24 (June 2009).

                                                    10
         Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 11 of 25




physical safety as well as her mental health if the proceeding were to continue without the Doe

pseudonym.

       For these reasons, and given the sensitive nature regarding the disclosure of the identity

of domestic violence victims, this Court finds the second factor weighs in favor of proceeding

anonymously.

       3. Factor 3

       Under the third factor, courts consider whether the plaintiff commenced suit in order to

prevent the type of injury that disclosure of her identity would cause. Sealed Plaintiff v. Sealed

Defendant, 537 F.3d 185, 190 (2d Cir. 2008). For example, a plaintiff may proceed

anonymously in a privacy claim if disclosure of her name would inflict the type of injury she

seeks to avoid. See Roe v. Ingraham, 364 F. Supp. 536, 547 n.7 (S.D.N.Y. 1973).

       In the instant case, Doe is not pursuing a privacy claim. Her claims against Solera

include employment discrimination, a hostile work environment, retaliation, and failure to pay

overtime. These injuries would not be incurred as a result of disclosure of her name in the

proceedings.

       Therefore, this Court finds the third factor weighs against proceeding anonymously.

       4. Factor 4

       Whether the plaintiff is particularly vulnerable to possible harms of disclosure is an

additional determination for courts to make. Sealed Plaintiff, 537 F.3d at 190. The plaintiff’s

age is a critical factor in this determination, as courts have been readier to protect the privacy

interest of minors in legal proceedings than of adults. Doe v. Del Rio, 241 F.R.D. 154, 158

(S.D.N.Y. 2006). If a plaintiff is not a child, this factor weighs against a finding for anonymity.

Id.; Doe v. Stegall, 653 F.2d 180, 186 (4th Cir. 1981) (stating that the anonymity was warranted



                                                  11
         Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 12 of 25




to protect minor plaintiffs against a risk of violence for unpopular religious beliefs). In the

instant action, the Plaintiff is an adult with the capacity to make informed decisions for herself.

Since she is not a minor, she is not particularly vulnerable to the type of harm this factor

addresses.

       Therefore, this Court finds the fourth factor weighs against proceeding anonymously.

       5. Factor 5

       The fifth Sealed Plaintiff factor examines whether the suit challenges the actions of the

government or that of private parties. Sealed Plaintiff, 537 F.3d at 189. When a lawsuit

challenges governmental actions, actors, or policies, the plaintiff has a strong interest in

proceeding anonymously. EW v. N.Y. Blood Ctr., 213 F.R.D. 108, 111 (E.D.N.Y. 2003). In

private civil suits, courts recognize there is a significant interest in open judicial proceedings

since such suits “do not only advance the parties’ private interests, but also further the public’s

interest in enforcing legal and social norms.” Del Rio, 241 F.R.D. at 159.

       Here, Doe’s suit challenges the actions of private parties. Thus, this factor weighs

against proceeding anonymously.

       6. Factor 6

       The sixth Sealed Plaintiff factor concerns the extent to which allowing the plaintiff to

proceed anonymously would prejudice the defendants. Sealed Plaintiff, 537 F.3d at 189. Where

a case involves potentially damaging allegations, “basic fairness dictates that plaintiffs who

publicly accuse defendants in civil suits must sue under their real names.” Mateer v. Ross,

Suchoff, Egert, Hankin Maidenbaum & Mazel, P.C., 1997 U.S. Dist. LEXIS 4517, at *17

(S.D.N.Y. Apr. 10, 1997). In determining whether a defendant will be prejudiced, courts look at

the damage to a defendant’s reputation caused by the anonymous proceedings, difficulties in



                                                  12
         Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 13 of 25




conducting discovery, and the fundamental fairness of proceeding in this manner. EW v. N.Y.

Blood Ctr., 213 F.R.D. 108, 112 (E.D.N.Y. 2003). The unfairness of this situation is that the

defendant “would be required to defend himself publicly while [the] plaintiff could make her

accusations from behind a cloak of anonymity.” Doe v. Shakur, 164 F.R.D. 359, 361 (S.D.N.Y.

1996) (alteration in original).

        As Doe correctly points out, the allegations against Solera and Ashby would remain the

same regardless of whether Doe’s identity is disclosed or not. Doc. 29 at 17. However, when a

plaintiff brings serious charges that “relate directly to the professionalism exercised” by a

defendant, “fairness requires that he stand by those allegations.” Mateer, 1997 U.S. Dist. LEXIS

4517, at *16; Shakur, 164 F.R.D. at 361 (noting that since the plaintiff chose to bring the lawsuit

which put her own credibility in issue, she must now “be prepared to stand behind her charges

publicly”).

        Media attention, depending on its scope, also has the potential to be prejudicial toward

parties. Shakur, 164 F.R.D. at 362 (discussing the defendant’s notoriety and the likelihood of the

case attracting “significant media attention”). However, contrary to Doe’s assertion, the media

attention this case will attract is speculative and claims of its already heightened interest are, at

this moment, unfounded. Neither party points to any actual media coverage concerning this

case.

        With respect to difficulties in conducting discovery, there is no “prejudice to

[defendant’s] ability to conduct discovery or try the matter if plaintiff were to proceed under a

pseudonym” where the defendants already know the plaintiff’s name. EW, 213 F.R.D. at 112;

see also Doe No. 2 v. Kolkto, 242 F.R.D. 193, 198 (E.D.N.Y. 2006) (holding that since

defendants already knew plaintiff’s identity, “[o]ther than the need to make redactions and take



                                                  13
         Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 14 of 25




measures not to disclose plaintiff’s identity, defendants will not be hampered or inconvenienced

merely by plaintiff’s anonymity in court papers”).

        Here, Solera and Ashby are already aware of Doe’s true identity. Doc. 38, at 18. Thus,

this factor does not add additional prejudice to Solera and Ashby. Nonetheless, the fundamental

unfairness of Solera and Ashby sustaining reputation damage while Doe stands behind the cloak

of anonymity causes prejudice to Defendants. Shakur, 164 F.R.D. at 361 (citing S. Methodist

Univ. Ass’n of Women Law Students v. Wynne & Jaffe, 599 F.2d 707, 713 (5th Cir. 1979))

(“‘[B]asic fairness’ dictates that plaintiffs who publicly accuse defendants in civil suits ‘must

[sue] under their real names.’” (second alteration in original)).

        Therefore, the sixth factor weighs against proceeding anonymously.

        7. Factor 7

        Under the seventh Sealed Plaintiff factor, courts consider whether the plaintiff’s identity

has thus far been kept confidential. Sealed Plaintiff v. Sealed Defendant, 537 F.3d 185, 190 (2d

Cir. 2008). Prior disclosure to the public of a plaintiff’s identity effectively nullifies the shield of

privacy provided by proceeding anonymously. See, e.g., Shakur, 164 F.R.D. 359; Mateer v.

Ross, Suchoff, Egert, Hankin Maidenbaum & Mazel, P.C., 1997 U.S. Dist. LEXIS 4517

(S.D.N.Y. Apr. 10, 1997). Defendants argue that their knowledge of Doe’s true identity means

this factor weighs against anonymity. Doc. 38, at 17–18. However, the threat of retaliation that

Doe faces is not from Solera and Ashby but from a third party (her former husband) who does

not know her true identity. Defendants’ knowledge of Doe’s identity does not disrupt the fact

that Doe’s anonymity to the public has been preserved to date.

        Thus, the seventh factor weighs in favor of proceeding anonymously.




                                                  14
         Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 15 of 25




        8. Factors 8 and 9

        The eighth factor is whether the public’s interest in the litigation is furthered by requiring

the plaintiff to disclose his or her identity. Sealed Plaintiff, 537 F.3d at 190. It is “in the public

interest that the price of access to the courts not be too high.” Doe v. N.Y. Blood Ctr., 39 F.

Appx 686 (2d Cir. 2001). “[L]awsuits are public events and the public has a legitimate interest

in knowing the facts involved in them. Among those facts is the identity of the parties.” Shakur,

164 F.R.D. at 361. There is a “general presumption that parties’ identities are public

information.” A.B. v. Hofstra Univ., 2018 WL 1935986, at *3 (E.D.N.Y. Apr. 24, 2018). In

order to protect her anonymity, a plaintiff must present evidence that overcomes this

presumption. See A.B. v. C.D., 2018 U.S. Dist. LEXIS 68919, at *7 (E.D.N.Y Apr. 24, 2018).

        The ninth factor is whether, because of the purely legal nature of the issues presented or

otherwise, there is an atypically weak public interest in knowing the litigants’ identities. Sealed

Plaintiff, 537 F.3d at 190. Where the action in the lawsuit is not based on “abstract challenges to

public policies but rather with regard to particular actions and incidents, open proceedings

nevertheless benefit the public as well as the parties and also serve the judicial interest in

accurate fact-finding and fair adjudication.” Doe v. Del Rio, 241 F.R.D. 154, 159 (S.D.N.Y.

2006) (concluding that the factual nature of the lawsuit, which concerned a series of incidents

involving mistreatment by police officers, weighed in favor of disclosing plaintiff’s identity).

        Here, Doe does not seek resolution of an abstract legal principle. Her claims concern

specific, fact-based incidents. There is no atypically weak public purpose since the case

concerns specific wrongdoings of private parties. Furthermore, as this case involves alleged

employment discrimination based on race by a company that prides itself on diversity, it is likely

that the public will be interested in the facts of this case.



                                                   15
         Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 16 of 25




       Therefore, the eighth and ninth factors weigh against proceeding anonymously.

       9. Factor 10

       The tenth and last factor is whether there are any alternative mechanisms for protecting

the confidentiality of the plaintiff. Sealed Plaintiff, 537 F.3d at 190. If a viable alternative to

complete anonymity exists, this factor weighs against a finding for anonymity. See Doe v.

United States, 2017 U.S. Dist. LEXIS 83745, at *5 (S.D.N.Y. June 1, 2017) (determining that it

would be inappropriate for the plaintiff to proceed under a pseudonym where alternative

measures could be taken to protect his privacy interest). Sealing and redacting certain

documents containing sensitive information are sufficient alternatives to anonymity and, in fact,

routinely done in cases involving sensitive matters. Anonymous v. Medco Health Sols., Inc., 588

F. App’x 34, 35 (2d Cir. 2014) (rejecting the assertion that a plaintiff’s medical condition and its

economic effect on career prospects justified the plaintiff’s request to proceed under a

pseudonym).

       In the instant case, Doe has already legally changed her name. Compl. ¶ 115. According

to Doe, her former husband does not know her new name, nor does he know where she works.

As suggested by Solera and Ashby, if documents referencing Doe’s original name or any

information that could be used to locate her (e.g., her address) are sealed and redacted, the

connection between her old and new names would not be readily established by her former

husband. With this alternative, Doe’s identity and safety would not be compromised.

       Therefore, the tenth factor weighs against proceeding anonymously.

       10. Summary

       Factors two and seven weigh in favor of proceeding anonymously. However, the

remaining factors all weigh against anonymity. No one factor is dispositive in determining



                                                  16
           Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 17 of 25




whether the plaintiff should continue to proceed under a pseudonym. While the court

sympathizes with Doe and understands her fear of identification, Doe’s interest in anonymity in

this instant action does not outweigh the public interest in disclosure or prejudice to the

Defendants.

       B. Motion to Dismiss Counterclaims

       1. Cross Motions to Dismiss the Counterclaims and Amend/Correct Pleading

       As discussed above, these cross motions require the Court to engage in the same analysis,

namely, determining whether these counterclaims state a claim pursuant to Rule 12(b)(6). We

address each proposed counterclaim in turn.

       2. Counterclaim I—Faithless Servant

       The first Counterclaim against Doe is for breach of fiduciary duty under the faithless

servant doctrine. Under New York law, to succeed on a claim for breach of fiduciary duty, “a

plaintiff must demonstrate the existence of a fiduciary relationship between the parties and a

breach of that duty by the defendant.” Fagan v. First Sec. Invs., Inc., 2006 U.S. Dist. LEXIS

66065, at *4 (S.D.N.Y. Sept. 15, 2006). Fundamental to the employer-employee relationship is

the proposition that an employee is obligated to be loyal to his employer and is “prohibited from

acting in any manner inconsistent with his agency or trust and is at all times bound to exercise

the utmost good faith and loyalty in the performance of his duties.” W. Elec. Co. v. Brenner, 41

N.Y.2d 291, 295 (1977) (quoting Lamdin v. Broadway Surface Advert. Corp., 272 N.Y. 133, 138

(1936)).

       Under the faithless servant doctrine, “[o]ne who owes a duty of fidelity to a principal and

who is faithless in the performance of [her] services is generally disentitled to recover [her]

compensation, whether commissions or salary.” City of Binghamton v. Whalen, 141 A.D.3d 145,



                                                 17
             Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 18 of 25




147 (3d Dep’t 2016) (citing Feiger v. Iral Jewelry, 41 N.Y.2d 928, 928 (1977); Murray v. Beard,

102 N.Y. 505, 508–09 (1886); Matter of Blumenthal (Kingsford), 32 A.D.3d 767, 768 (1st Dep’t

2006); Am. Map Corp. v. Stone, 264 A.D.2d 492, 492–93 (2d Dep’t 1999)).

           In New York, courts “continue to apply two alternative standards for determining

whether an employee’s conduct warrants forfeiture under the faithless servant doctrine.” Carco

Grp., Inc. v. Maconachy, 383 F. App’x 73, 76 (2d Cir. 2010).

           The first standard requires “the misconduct and unfaithfulness . . . substantially violates

the contract of service” 4 such that it “permeate[s] [the employee’s] service in its most material

and substantial part.” 5 Courts have found disloyalty not to be “substantial” when the behavior

consisted of a single act of disloyalty, as opposed to a persistent pattern, or the employer knew of

and tolerated the behavior. Id.; see, e.g., Schwartz v. Leonard, 138 A.D.2d 692 (2d Dep’t 1988)

(stating that a single act of disloyalty—a lawyer removing files from defendant’s office and

starting his own law practice—did not warrant forfeiture because there was no “persistent pattern

of disloyalty”); Sundland v. Korfund Co., 260 A.D. 80 (1st Dep’t 1940) (stating that evidence of

an employee’s theft at “frequent intervals throughout the entire period of his service” was

sufficient to warrant forfeiture); Bravin v. Fashion Week, Inc., 73 Misc. 2d 974 (Civ. Ct. Suffolk

Cty. 1973) (finding that there was no contract violation or forfeiture where employer continued

employment of an allegedly insubordinate person). New York courts have not defined the

“material and substantial” standard, thereby leaving it to a case-by-case determination whether

the employee’s conduct was a violation of the doctrine. Sanders v. Madison Square Garden,

2007 WL 1933933, at *5 (S.D.N.Y. July 2, 2007).



4
    Id. at 201 (quoting Turner v. Konwenhoven, 100 N.Y. 115, 120 (1885)).
5
    Id. at 203 (quoting Abramson v. Dry Goods Refolding Co., 166 N.Y.S. 771, 773 (1st Dep’t 1917)).

                                                         18
         Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 19 of 25




       The second standard requires only “misconduct . . . that rises to the level of a breach of a

duty of loyalty or good faith.” Phansalkar v. Andersen Weinroth & Co., 344 F.3d 184, 202 (2d

Cir. 2003). In other words, this standard is met when an employee “acts adversely to [her]

employer in any part of the transaction, or omits to disclose any interest which would naturally

influence [her] conduct in dealing with the subject of [her] employment.” Id. (quoting Murray v.

Beard, 102 N.Y. 505, 508 (1886)). The faithless servant doctrine is “limited to matter relevant to

affairs entrusted” to the employee. Sanders, 2007 WL 1933933, at *4.

       Despite the conflicting standards, “New York courts have not reconciled any differences

between them, or defined the circumstances, if any, in which one standard should apply rather

than the other.” Phansalkar, 344 F.3d at 202. Instead, in the two Second Circuit cases that

highlight the conflict, the court simply noted that the defendant in each case was liable because

he qualified as a faithless servant under either test. See id.; Carco Grp., 383 F. App’x at 76; see

also Khaldei v. Kaspiev, 135 F. Supp. 3d 70, 84 (S.D.N.Y. 2015) (finding it not necessary to

resolve the issue because defendant is a faithless servant even under the more stringent standard).

Here, while the Court finds that the offending activity with which Doe is charged clearly does

not meet the first, more stringent test, because those actions cannot reasonably be said to

permeate Doe’s service in its “most material and substantial part,” it may arguably fall within the

second, less stringent test, which only requires misconduct that rises to the level of a breach of a

duty of loyalty or good faith. However, the Court finds that the claim fails even under the less

stringent standard for three reasons.

       First, as the district court found in Grewal v. Cuneo, “the duty of loyalty ‘has been

limited to cases where the employee, acting as the agent of the employer, unfairly competes with

his employer, diverts business opportunities to himself or others to the financial detriment of the



                                                 19
         Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 20 of 25




employer, or accepts improper kickbacks.’” 2016 U.S. Dist. LEXIS 8349, at *21–22 (S.D.N.Y.

Jan. 25, 2016) (quoting Farricker v. Penson Dev., Inc., 2010 U.S. Dist. LEXIS 20918, at *2

(S.D.N.Y. Mar. 4, 2010)); see also Veritas Capital Mgmt. L.L.C. v. Campbell, 2008 WL

5491146, at *10–11 (N.Y. Sup. Ct. 2008) (same); accord Westwood Chem. Co. v. Kulick, 570 F.

Supp. 1032, 1040 (S.D.N.Y. 2010). Here, there simply is no evidence that Doe unfairly

competed with Defendants. They do not allege that Doe improperly used Defendants’ time and

resources or confidential information to create a competing firm, or that she received an

improper kickback. Grewal is instructive. There, the court found that the allegations, which

included serious charges against a lawyer by her former law firm including representing third

parties without the firm’s authorization, lying to the firm regarding possession of third parties’

documents, and preparing to take the firm’s clients upon her departure from the firm, were

insufficient to establish a misappropriation of resources or diversion of profits. See also

Schwartz v. Leonard, 526 N.Y.S.2d 506, 508 (2d Dep’t 1988) (finding allegation that defendant

took client files and made secret plans to move to new office space insufficient to show that

defendant neglected the files during the period of his employment or that he was furthering his

own interest at the expense of the plaintiff).

       Second, while Doe’s alleged misconduct is certainly improper, there is insufficient

evidence that it consisted of a “persistent pattern of disloyalty” that courts have found necessary

to bring conduct within the confines of the doctrine. Compare Schwartz v. Leonard, 526

N.Y.S.2d at 508 (denying faithless servant claim where attorney secretly removed employer’s

confidential files because employer did not show there was a “persistent pattern of disloyalty”),

with Khaldei v. Kaspiev, 135 F. Supp. 3d 70, 85–86 (S.D.N.Y. 2015) (finding defendant was a

faithless servant where defendant engaged in multiple acts of disloyalty over many years and



                                                 20
          Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 21 of 25




“persisted boldly through an opportunity to correct”), and City of Binghamton v. Whelan, 141

A.D.3d 145, 146 (3d Dep’t 2016) (defendant’s admission to stealing more than $50,000 from

plaintiff over a course of six years constitutes conclusive proof of his engagement in repeated

acts of disloyalty).

        Finally, the faithless servant doctrine doesn’t apply on the facts of this case because

Defendants have not cited, and the Court has not found, a case where the doctrine was applied to

the type of garden-variety, petty pilfering by an employee as alleged here. 6 The most analogous

case cited to the Court on this instant motion is Torres v. Gristede’s Operating Corp., 628 F.

Supp. 2d 447, 466 (S.D.N.Y. 2008), because that case also involved employee/plaintiffs that

alleged, among other claims, wage violations, and a defendant/employer that sought to bring

counterclaims for violation of the faithless servant doctrine. There, the proposed counterclaims

were based on the alleged sexual harassment by one plaintiff against coworkers, and the alleged

misuse of a customer’s credit card by another plaintiff. Id. at 466. In finding that the

counterclaims failed as a matter of law, the court described them as “small beer,” id., and noted

“[n]or can it be . . . that every routine termination for sexual harassment or credit card fraud

necessarily raises faithless servant claims,” id. at 470. So too here, the improper use of the

firm’s credit card for a total of $224.20, and the alleged snooping of admittedly sensitive

information, cannot be said to rise to the level of substantial disloyalty that was present where

courts have found a violation of the doctrine. See Salus Capital Partners, LLC v. Moser, 289 F.

Supp. 3d 468, 481 (S.D.N.Y. 2018) (stating that the employee’s manipulation of roughly




6
  And a good thing too. The faithless servant doctrine calls for “drastic” remedies. Sanders, 2007 WL 1933933, at
*6. An individual who has been found to violate the doctrine can be made to forfeit all of her compensation from
the moment the violation began. Phansalkar, 344 F.3d at 208. On the facts of this case, Doe would have to forfeit
almost the entirety of her compensation if found in violation because she was hired on February 9, 2015, and was
alleged to have forwarded the trend guide on February 13, 2015.

                                                        21
         Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 22 of 25




$100,000 in invoices was a serious misconduct that substantially violated his contract); Sansum

v. Fioratti, 128 A.D.3d 420, 421 (1st Dep’t 2015) (finding a breach of duty of loyalty under the

faithless servant doctrine where defendant’s testimony conclusively established he embezzled

not less than $100,000 from his employer over two years); William Floyd Union Free Sch. Dist.

v. Wright, 61 A.D.3d 856, 859 (2d Dep’t 2009) (determining that former treasurer of school

district’s guilty plea wherein he admitted to stealing from the district over a period of three years

established a breach of fiduciary duty).

       Therefore, Defendants fail to state a claim for breach of fiduciary duty under the faithless

servant doctrine pursuant to Rule 12(b)(6). The counterclaim is dismissed without prejudice.

       3. Counterclaim II—Conversion

       The second proposed counterclaim sounds in conversion. Amended Answer with

Counterclaims ¶ 1. Under New York law, “[c]onversion is the unauthorized assumption and

exercise of the right of ownership over goods belonging to another to the exclusion of the

owner's rights.” Thyroff v. Nationwide Mut. Ins. Co., 460 F.3d 400, 403–04 (2d Cir. 2006)

(quoting Vigilant Ins. Co. of Am. v. Hous. Auth., 87 N.Y.2d 36, 44 (1995)). “To withstand a

motion to dismiss, a claim for conversion of funds must allege: (1) an injury caused by an

actionable wrong other than a breach of contract; (2) that the plaintiff owned the funds at the

time they were converted; (3) the defendant exercised unauthorized dominion over the funds; (4)

that the funds were specific and identifiable; and (5) that the defendant was required to treat the

funds in a particular manner, but failed to do so.” Cal Distrib. v. Cadbury Schweppes Ams.

Bevs., Inc., 2007 U.S. Dist. LEXIS 854, at *33 (S.D.N.Y. Jan. 5, 2007).

       In New York, the type of property subject to a conversion claim is tangible identifiable

personal property, and “intangible property . . . that bear[s] a substantial similarity to tangible



                                                  22
         Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 23 of 25




property, like electronically stored data and other information.” In re Tashlitsky, 492 B.R. 640,

649 (Bankr. E.D.N.Y. 2013). “More particularly, if the allegedly converted money is incapable

of being described or identified in the same manner as a specific chattel, it is not the proper

subject of a conversion action.” Interior by Mussa, Ltd. v. Town of Huntington, 664 N.Y.S.2d

970, 972 (2d Dep’t 1997).

       In the instant case, Solera and Ashby allege Doe made two improper personal charges to

Herman’s company credit card. Amended Answer with Counterclaims ¶ 10. It is further alleged

that Doe was aware all charges made to company cards had to be authorized by Solera

executives and used for work-related expenses only. Id. ¶ 8. However, the assertion of stolen

funds as it presently stands is not “specifically identifiable.” Republic of Haiti v. Duvalier, 211

A.D.2d 379, 384 (1st Dep’t 1995) (“Where the property is money, it must be specifically

identifiable and be subject to an obligation to be returned or to be otherwise treated in a

particular manner.”).

       Mazzola v. Roomster Corp., 849 F. Supp. 2d 395, 409 (S.D.N.Y. 2012), is on all fours

with this case. In Mazzola, the plaintiff sought return of the money the defendant charged to her

debit card. The conversion claim was dismissed, however, because the plaintiff did not “allege

that the defendants had a specific fund of money that belonged to her,” nor did she “claim

ownership of a ‘specifically identifiable, segregated’ fund.” Id. Like the plaintiff in Mazzola,

Defendants’ conversion claim must fail because Solera mentions two separate charges Doe

allegedly made but does not specify an identifiable, segregated fund. Nor is the claim saved by

Defendants’ argument that what was converted was the credit limit associated with the card. As

the court noted in Mazzola, “[a]lthough the fund in question is not the plaintiff’s bank account

associated with her debit card, but rather the fund in which the defendants allegedly kept the



                                                 23
         Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 24 of 25




plaintiff’s money, even if the relevant fund were her bank account she would not have alleged

adequately a specific fund.” Id. at 409 n.7.

       Accordingly, Defendants have failed to state a claim for conversion pursuant to Rule

12(b)(6). The counterclaim is dismissed without prejudice.

       4. Counterclaim III—Unjust Enrichment

       As an alternative to its counterclaim for conversion, Defendants propose to assert an

unjust enrichment counterclaim. Amended Answer with Counterclaims ¶ 54–57.

       To establish unjust enrichment under New York law, the basic elements require proof

that “(1) defendant was enriched, (2) at plaintiff’s expense, and (3) equity and good conscience

militate against permitting defendant to retain what plaintiff is seeking to recover.” Grynberg v.

ENI S.P.A., 503 F. App’x 42, 43 (2d Cir. 2012). “The ‘essence’ of such a claim ‘is that one party

has received money or a benefit at the expense of another.’” Kaye v. Grossman, 202 F.3d 611,

616 (2d Cir. 2000) (quoting City of Syracuse v. R.A.C. Holding, Inc., 685 N.Y.S.2d 381, 381 (4th

Dep’t 1999)). “Although privity is not required for an unjust enrichment claim, a claim will not

be supported if the connection between the parties is too attenuated.” Mandarin Trading Ltd. v.

Wildenstein, 16 N.Y.3d 173, 182 (2011).

       This counterclaim fails because, sounding as it does on credit card fraud, it must meet the

pleading requirements of Rule 9(b), and it fails to do so. Cohen v. S.A.C. Trading Corp., 711

F.3d 353, 359 (2d Cir. 2013) (“Claims that sound in fraud are subject to the heightened pleading

standards of Fed. R. Civ. P. 9(b) . . . .”). In the instant case, it is alleged that Doe made two

unauthorized purchases. Amended Answer with Counterclaims ¶¶ 16–18, 25–28. However,

Defendants only assert allegations based on “information and belief” that there were improper

credit card withdrawals. “[F]raud pleadings generally cannot be based on information and



                                                  24
        Case 1:18-cv-01769-ER Document 51 Filed 03/31/19 Page 25 of 25




belief." Stern v. Leucadia Nat'l Corp., 844 F.2d 997, 1003 (2d Cir. 1988). "Allegations may be

based upon information and belief when facts are peculiarly within the opposing party's

knowledge." Wexner v. First Manhattan Co., 902 F.2d 169, 172 (2d Cir. 1990) (citing Stern,

844 F .2d at 999 n.1 ). "This exception to the general rule must not be mistaken for license to base

claims of fraud on speculation and conclusory allegations." Id. Here, the facts surrounding the

improper credit card purchases are not peculiarly within Doe's knowledge. Defendants therefore

cannot simply rely on their "information and belief' for an unjust enrichment claim.

       Accordingly, Defendants have failed to state a claim for unjust enrichment pursuant to

Rule 12(b)(6). The counterclaim is dismissed without prejudice.

       5. Supplemental Jurisdiction

       The Court, having dismissed the three counterclaims, need not determine whether it may

exercise supplemental jurisdiction over them.

IV.    CONCLUSION

       For the reasons set forth above, Doe's motion for a protective order to continue to

proceed anonymously is DENIED. Plaintiff is directed to file a Third Amended Complaint to

include her actual name by April 12, 2019. Doe's motion to dismiss counterclaims is

GRANTED, and Defendants' cross-motion to amend their pleadings is DENIED without

prejudice. The Clerk of Court is respectfully directed to terminate the motions, Docs. 23, 27, and

32.

       It is SO ORDERED.

Dated: March 31, 2019
       New York, New York


                                                             Edgardo R~s
                                                             United States District Judge


                                                25
